Case 2:04-cr-20307-.]P|\/|-de Document 65 Filed 07/27/05 Page 1 of 2 Page|D 102

ms m wt~/ n.c.

IN THE UNITED sTATEs DISTRICT COURT -»---
FOR THE WESTERN DISTRICT 0F TENNESSEE _
wEsTERN DIVISIoN 05 ~'UL 27 AH '0’ 2a
HJMAS M. GOLH.D
n
UNITED sTATEs oF AMERICA, ) CLEW;DL Ug§ ‘Sm§;p%nb|l|
) t _
Plaintiff, ) Criminal No. 04-20307-Ml
VS. )
)
KENNETH GRAY, )
)
Defendant. )

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD
OF EXCLUDABLE DELAY

 

It is hereby ORDERED that the Govemment's motion to continue the trial date is hereby

Q.‘i"qfw a.n.

GRANTED, and the matter is now reset for report on F|"{ d A The time is

excluded under the Speedy Trial Act.

IT Is So ORDERED this the 2 69 day of;ruly, 2005

Approved by W /PM

Date 712§@§

t @m@@

UNIT D STATES DISTRICT .TUDGE

 

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Thls document entered on the docket sheet trigg/c

with Hule 55 audior 32(b) FRCrP on

 

 

 

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This notice confirms a copy of the document docketed as number 65 in
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Honorable J on McCalla
US DISTRICT COURT

